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                   IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI


IN RE: ANNA FAYE GARDNER                                                   CASE NO: 18-13239
       DEBTOR                                                              CHAPTER 13



                           OBJECTION TO THE CLAIM FILED
                           BY INTERNAL REVENUE SERVICE



       COMES NOW the Debtor named above and files this her Objection to the Claim filed

by Internal Revenue Service (hereinafter “IRS”), showing the court as follows:

       The IRS filed a priority claim in the amount of $12,300.66. The Debtor objects to the

priority claim in the amount of $11,766.16 for the tax year 2014. The Debtor filed her tax return

for tax year 2014 on time and therefore it should only be a general unsecured claim.

       WHEREFORE, the Debtor respectfully requests that the IRS’s priority claim only be

allowed in the amount of $534.50 and for such other and further relief as this court deem just and

proper under the circumstances.

                                                            Respectfully submitted,



                                                            /s/ R. Gawyn Mitchell___________
                                                            R. GAWYN MITCHELL, 3383
                                                            Attorney for Debtor
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                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI


IN RE: ANNA FAYE GARDNER                                                      CASE NO: 18-13239
       DEBTOR                                                                 CHAPTER 13


                         NOTICE OF OBJECTION TO CLAIM

       YOU ARE HEREBY NOTIFIED that an objection to your claim has been filed in

the above referenced bankruptcy case. Your claim may be reduced, modified, or

eliminated. If you do not want the Court to eliminate or change your claim, a written

response to the attached objection to claim must be filed with:

                               Shallanda J. Clay, Clerk of Court
                               Cochran U.S. Bankruptcy Court
                               Northern District of Mississippi
                               703 Highway 145 North
                               Aberdeen, MS 39703-0867

 and a copy must be served on the undersigned Debtor’s attorney and the Chapter 13

 trustee on or before thirty (30) days from the date of this notice. In the event a written

 response is filed, the Court will notify you of the date, time and place of the hearing

 thereon.

 DATED: June 20, 2019

                                                      /s/ R. Gawyn Mitchell_________
 CHAPTER 13 STANDING TRUSTEE                          ATTORNEY FOR DEBTOR
 Terre M. Vardaman                                    112 5th Street South
 Post Office Box 1326                                 Post Office Box 1216
 Brandon, MS 39043                                    Columbus, MS 39703-1216
 Telephone No: (601) 825-7663                         Telephone No: (662) 327-3344
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                                CERTIFICATE OF SERVICE


       I, R. Gawyn Mitchell, Attorney for the Debtor, do hereby certify that I have this day

either mailed, a true and correct copy by United States mail, postage prepaid, or electronically

mailed, a copy of the attached Objection to the following:

Terre M. Vardaman
VARDAMAN13ECF@gmail.com

Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346

U.S. Attorney
900 Jefferson Ave.
Oxford, MS 38655


DATED: June 20, 2019



                                                          /s/ R. Gawyn Mitchell_________
                                                           R. GAWYN MITCHELL
                                                           Attorney at Law

R. GAWYN MITCHELL, P.A.
112 5th Street South
Post Office Box 1216
Columbus, MS 39703-1216
(662) 327-3344
